                      Case 1:20-mj-00100-RMM Document 1 Filed 06/01/20 Page 1 of 1
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT
                                                                  for the
                                                        DistrictDistrict
                                                   __________    of Columbia
                                                                         of __________

                  United States of America                           )
                             v.                                      )
               DOMINIQUE MALIK MAXEY
                                                                     )      Case No.
              DOB: xx/xx/xxxx-PDID: xxx-xxx                          )
                                                                     )
                                                                     )
                                                                     )
                          Defendant(s)


                                                   CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   May 31, 2020                   in the county of             Washington           in the
                       District of          Columbia             , the defendant(s) violated:

            Code Section                                                       Offense Description
18 U.S.C. § 2113(a)                               by entering or attempting to enter a branch of the Suntrust Bank, a bank
                                                  whose deposits were then insured by the Federal Deposit Insurance
                                                  Corporation, with intent to commit a felony while in the bank affecting the
                                                  bank in violation of laws of the United States and with the intent to commit
                                                  larceny.




         This criminal complaint is based on these facts:
SEE ATTACHED STATEMENT OF FACTS




         ✔ Continued on the attached sheet.
         u


                                                                                                Complainant’s signature

                                                                                         KEVIN MOORE, Special Agent
                                                                                                 Printed name and title

Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1 by Telephone (specify reliable
electronic means).

Date:             06/01/2020
                                                                                                   Judge’s signature

City and state:                         Washington, DC                        ROBIN M. MERIWEATHER, U.S. Magistrate Judge
                                                                                                 Printed name and title



        Print                        Save As...                   Attach                                                  Reset
